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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

    ERIC FABIAN CRUZ,
                                 Petitioner,
                                                                 No.     3:17-CV-2164-D-BF
    v.                                                                   (3:15-CR-0474-D)

    UNITED STATES OF AMERICA,                                    Referred to U.S. Magistrate Judge
                       Respondent.

                         RESPONSE TO 28 U.S.C. § 2255 MOTION

         Cruz moves the Court to vacate, set aside, or correct his sentence pursuant to 28

U.S.C. § 2255. The government opposes Cruz’s motion because his claim—that his

Texas aggravated assault convictions are not career offender predicates—was decided

against him on direct appeal and cannot be relitigated here. Similarly, his related

ineffective-assistance-of-counsel claim fails because even under a de novo standard of

review, the Fifth Circuit would have affirmed his sentence.

1.       BACKGROUND

         A.     Statement of the Case

         On January 29, 2016, Cruz pled guilty to four counts of possession with intent to

distribute a controlled substance, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(B), and

(b)(1)(C), and possession of a firearm by a convicted felon, in violation of 18 U.S.C.

§§ 922(g)(1) and 924(a)(2). (CR Dkt. Nos. 26, 28.) 1 On June 17, 2016, the Court




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 Citations to “CR Dkt. No. _” refer to the docket of the underlying criminal proceeding, United States v.
Cruz, Case No. 3:15-CR-0474-D. Documents filed in the section 2255 action are cited “CV Dkt. No. _.”
Other documents will be referenced by title.


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sentenced him to 188 months’ imprisonment. (CR Dkt. No. 36.) Cruz filed a direct

appeal, and the Fifth Circuit affirmed his sentence on June 23, 2017. United States v.

Cruz, 691 F. App’x 204 (5th Cir. 2017). He then filed a petition for writ of certiorari,

which was denied on October 30, 2017. Cruz v. United States, -- S. Ct. --, 2017 WL

4569841 (2017). Cruz prematurely filed the instant Section 2255 motion on August 15,

2017. (CV Dkt. No. 1.)      See Welsh v. United States, 404 F.2d 333, 333 (5th Cir. 1968)

(holding that if a criminal defendant files a Section 2255 motion during the pendency of a

direct appeal, the collateral attack is generally considered premature, insofar as the

collateral claims are not ripe or an appeal may render the collateral claims moot).

However, now that Cruz’s petition for certiorari has been denied and his conviction is

final, his claim is ripe for consideration.

       B.     Statement of the Issues

       Cruz claims that the Court should vacate his sentence because his prior Texas

convictions for aggravated assault are no longer career-offender predicates in light of

Mathis v. United States, 136 S. Ct. 2243 (2016), and United States v. Hinkle, 832 F.3d

569 (5th Cir. 2016). (CV Dkt. No. 1 at 6-8.) Cruz unsuccessfully argued this issue on

direct appeal. Cruz, 691 F. App’x 204, 205 (5th Cir. 2017). Because his claim was

decided on direct appeal, Cruz cannot relitigate it here.

       Relatedly, Cruz argues that his attorney was ineffective at sentencing for failing to

object to the career offender enhancement and preserve the issue for appellate review.

(CV Dkt. No. 1 at 8.) However, the Fifth Circuit has upheld the categorization of Texas

aggravated assault as a career-offender predicate under de novo review. See United


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States v. Garces, 686 F. App’x 252 (5th Cir. 2017); United States v. Guillen-Alvarez, 489

F.3d 197 (5th Cir. 2007). Thus, Cruz cannot demonstrate prejudice from counsel’s

failure to object at sentencing. For these reasons, the Court should deny his Section 2255

motion.

       C.     Statement of Facts

       Acting on a tip that a person known as “Rex” was selling methamphetamine and

guns from a house in Dallas, agents of the Bureau of Alcohol, Tobacco, Firearms, and

Explosives used a confidential source to purchase 1.25 ounces of methamphetamine and

a Sig Sauer .380-caliber pistol from Cruz. (PSR ¶¶ 8-9.) A week later, the source bought

25 grams of methamphetamine and a Glock .40-caliber pistol from Cruz. (PSR ¶ 11.)

The source again bought 107.9 grams of methamphetamine from Cruz the following day.

(PSR ¶ 12.) Agents subsequently arrested Cruz and searched the house, finding more

methamphetamine, Alprazolam pills, two pistols, and a 7.62-caliber rifle with a high-

capacity magazine. (PSR ¶ 14.)

       A grand jury charged Cruz in a five-count indictment with three counts of

distribution of methamphetamine, one count of possession of methamphetamine with

intent to distribute, and one count of being a felon in possession of a firearm. (CR Dkt.

No. 10.) Cruz initially agreed to plead guilty to two counts pursuant to a written plea

agreement that contained an appellate waiver and obligated the government to dismiss the

other three counts. (See CR Dkt. Nos. 18-19.) Before the court conducted rearraignment,

however, Cruz filed a notice that he wished to withdraw the plea documents and intended




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to plead guilty to the indictment. (CR Dkt. Nos. 25-26.) Cruz pled guilty to all five

counts of the indictment. (CR Dkt. No. 43 at 20-21.)

        Among the six prior convictions detailed in the PSR were two for aggravated

assault with a deadly weapon. (PSR ¶¶ 42-43.) The PSR found that Cruz qualified as a

career offender because his two aggravated assault convictions were crimes of violence.

(PSR ¶ 35.) The quantity of drugs involved and firearm enhancement combined to

produce an offense level of 34; therefore, the career-offender designation did not increase

the offense level. (PSR ¶¶ 29-34.) It did, however, bump him up from criminal history

category V to VI. (PSR ¶ 46.) After applying the acceptance-of-responsibility reduction,

the PSR calculated an advisory guideline range of 188 to 235 months. (PSR ¶ 80.)

        Cruz made no objections to the PSR. (CR Dkt. No. 42 at 4.) After considering

counsel’s arguments and the statements of Cruz and two others on his behalf, the Court

concluded that a sentence at the bottom of the guidelines range was appropriate. (Id. at

14-18.) The court imposed concurrent 188-month sentences on Counts One, Two, Three,

and Four. (Id. at 14.) It imposed a concurrent sentence of 120 months on Count Five.

(Id.)

2.      STANDARD OF REVIEW

        Under 28 U.S.C. § 2255, a prisoner may move the convicting court to vacate, set

aside, or correct his conviction or sentence. It provides four grounds: “(1) the sentence

was imposed in violation of the Constitution or laws of the United States; (2) the court

was without jurisdiction to impose the sentence; (3) the sentence exceeds the statutory

maximum sentence; or (4) the sentence is otherwise subject to collateral attack.” 28


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U.S.C. § 2255(a); United States v. Placente, 81 F.3d 555, 558 (5th Cir. 1996) (citation

omitted).

       After a guilty verdict and exhaustion of a defendant’s right to appeal, the court is

“entitled to presume that the defendant stands fairly and finally convicted.” United States

v. Shaid, 937 F.2d 228, 231-32 (5th Cir. 1991). “Our trial and appellate procedures are

not so unreliable that we may not afford their completed operation any binding effect

beyond the next in a series of endless post-conviction collateral attacks. To the contrary,

a final judgment commands respect.” United States v. Frady, 456 U.S. 152, 164-65

(1982).

       Consequently, issues that can be presented in a Section 2255 motion are limited.

A defendant can challenge a final conviction only on issues of constitutional or

jurisdictional magnitude. See Shaid, 937 F.2d at 232. As the Fifth Circuit has stated:

       Relief under 28 U.S.C. § 2255 is reserved for transgressions of constitutional
       rights and for a narrow range of injuries that could not have been raised on
       direct appeal and would, if condoned, result in a complete miscarriage of
       justice. Nonconstitutional claims that could have been raised on direct
       appeal, but were not, may not be asserted in a collateral proceeding.

United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (citations omitted).

       Claims that counsel was ineffective allege a constitutional violation that can be

raised under Section 2255. Massaro v. United States, 538 U.S. 500, 504 (2003). To

prevail on an ineffective assistance of counsel claim, the movant must show (1) that his

counsel’s performance fell below an objective standard of reasonableness and (2) that

there is a reasonable probability that, but for his counsel’s unprofessional errors, the

result of the proceedings would have been different. Strickland v. Washington, 466 U.S.


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668, 687 (1984). This standard applies regardless of whether the movant pled guilty or

not guilty. Hill v. Lockhart, 474 U.S. 52, 58 (1985). Both prongs of the Strickland test

must be met to demonstrate ineffective assistance. Strickland, 466 U.S. at 697.

       The petitioner must first prove his counsel’s performance was deficient. Simply

making “conclusory allegations” is insufficient. Miller v. Johnson, 200 F.3d 274, 282

(5th Cir. 2000). The petitioner must identify specific acts or omissions that were not the

result of reasonable professional judgment. Strickland, 466 U.S. at 690. This

“scrutiny . . . must be highly deferential” and “requires that every effort be made to

eliminate the distorting effects of hindsight[.]” Id. at 689. This is because it is “all too

tempting for a defendant to second-guess counsel’s assistance after conviction or adverse

sentence, and it is all too easy for a court, examining counsel’s defense after it has proved

unsuccessful, to conclude that a particular act or omission . . . was unreasonable.” Id.

The Court “must judge the reasonableness of counsel’s challenged conduct on the facts of

the particular case” and “evaluate [that] conduct from counsel’s perspective at the time.”

Id. at 689-90. To that end, the Court “must indulge a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance; that is, the

defendant must overcome the presumption that, under the circumstances, the challenged

action might be considered sound trial strategy.” Id. at 689 (internal quotations and

citations omitted).

       Second, a petitioner must prove that his attorney’s deficient performance

prejudiced his case. Id. This requires showing “counsel’s deficient performance renders

the result of the trial unreliable or the proceeding fundamentally unfair.” Lockhart v.


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Fretwell, 506 U.S. 364, 372 (1993). There is no prejudice if the deficient performance

did not “deprive the defendant of any substantive or procedural right to which the law

entitles him.” Id. Put another way, a petitioner must prove that but for counsel’s errors,

“there is a reasonable probability that” the result of the proceeding would have been

different. Strickland, 466 U.S. at 693-94; United States v. Bartholomew, 974 F.2d 39, 41-

42 (5th Cir. 1992).

        “Surmounting Strickland’s high bar is never an easy task.” Padilla v. Kentucky,

559 U.S. 356, 371 (2010). The claim fails if the petitioner does not satisfy either the

deficient-performance prong or the prejudice prong. United States v. Stewart, 207 F.3d

750, 751 (5th Cir. 2000). And a court need not address both components if there is an

insufficient showing on one. Id.

3.      ARGUMENT AND ANALYSIS

        On direct appeal, the Fifth Circuit rejected Cruz’s claim that his prior Texas
        aggravated assault convictions were not career-offender predicates, and he
        cannot relitigate that claim here. Nor can he demonstrate that counsel was
        constitutionally ineffective for failing to object to his career-offender
        classification at sentencing.

        Cruz argues that following the Supreme Court’s decision in Mathis and the Fifth

Circuit’s decision in Hinkle, his prior Texas aggravated assault convictions can no longer

be considered crimes of violence under the career offender guideline. (CV Dkt. No. 1 at

6-8.) This issue was decided on direct appeal. The Fifth Circuit held that Cruz’s prior

aggravated assault convictions qualified as crimes of violence under the career offender

guideline because “a Texas aggravated assault conviction constitutes the enumerated

‘aggravated assault’ offense” and it “satisfies [Section] 4B1.2(a)(1)’s force-as-an-element


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clause.” Cruz, 691 F. App’x at 205. Cruz now seeks yet another bite at the apple.

However, “[i]t is [well] settled . . . that issues raised and disposed of in a previous appeal

from an original judgment of conviction are not considered in [Section] 2255 Motions.”

United States v. Kalish, 780 F.2d 506, 508 (5th Cir. 1986). Thus, Cruz’s claim is

precluded and cannot be relitigated here.

       Relatedly, Cruz claims that his counsel was constitutionally ineffective for failing

to object to the career-offender enhancement at sentencing and preserve the claim for

direct appeal. (Id. at 8.) He contends that his appeal would have been successful under a

higher standard of review. However, he is mistaken. The Fifth Circuit has affirmed the

categorization of Texas aggravated assault as a career-offender predicate under de novo

review. See United States v. Garces, 686 F. App’x 252 (5th Cir. 2017); United States v.

Guillen-Alvarez, 489 F.3d 197 (5th Cir. 2007). Thus, even if counsel had preserved the

claim for appellate review, the outcome of Cruz’s appeal would have been the same. As

a result, he cannot demonstrate the requisite prejudice. See Strickland, 466 U.S. at 694

(finding that to prove prejudice, the petitioner must show that “there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different”). Thus, Cruz’s ineffective-assistance-of-counsel claim fails.

See Stewart, 207 F.3d at 751 (holding that “[a] court need not address both components

of an ineffective assistance of counsel claim if the movant makes an insufficient showing

on one”).




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4.      CONCLUSION

        For the above-stated reasons, the government respectfully asks the Court to deny

Cruz’s Section 2255 motion.

                                                  Respectfully submitted,

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                                                  s/Amy J. Mitchell
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                              CERTIFICATE OF SERVICE

        I certify that on November 14, 2017, I filed this response with the clerk of court

for the U.S. District Court, Northern District of Texas. I also certify that a copy of this

response was sent to Eric Fabian Cruz, Register No. 50182-177, FCI Victorville -

Medium II, P.O. Box 3850, Adelanto, CA 92301, by certified mail.

                                                  s/Amy J. Mitchell
                                                  AMY J. MITCHELL
                                                  Assistant United States Attorney




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